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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 DEDRA JACKSON, AND ALL OTHERS                    §
 SIMILARLY SITUATED UNDER 29                      §
 USC 216(B),                                      §
                                                  §
        Plaintiff                                 §         NO. 3:15-CV-03125-L
                                                  §
 vs.                                              §
                                                  §         JURY DEMANDED
 SUPERIOR HEALTHPLAN, INC. and                    §
 CENTENE COMPANY OF TEXAS, L.P.,                  §
                                                  §
        Defendants.
                                                  §
                                                  §
                                                  §

             JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to Federal Rule of Civil Procedure Rule 41(a)(1)(A)(ii), Defendants

 Superior Healthplan, Inc. and Centene Company of Texas, L.P., by and through their

 attorneys, and Plaintiff, Dedra Jackson (“Plaintiff”), by and through her attorneys, hereby

 file this Joint Stipulation of Dismissal With Prejudice.

        1.      On September 25, 2015, Plaintiff filed this cause of action. [Doc. No. 1].

        2.      On April 7, 2017, this Court entered a scheduling order requiring the

 parties to engage in mediation no later than April 30, 2018. [Doc. No. 78].

        3.      The parties mediated this matter on June 14, 2017 and the mediator,

 Cecilia Morgan, submitted her ADR Summary on June 20, 2017, notifying this Court that

 the parties reached an agreement. [Doc. No. 79].

        4.      On June 20 2017, this Court entered an order directing the parties to file a

 stipulation of dismissal or an agreed motion to dismiss by July 20, 2017. [Doc. No. 80].




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           5.     On August 22, 2017, this Court entered an order extending the deadline

 for the parties to file their joint stipulation of dismissal with prejudice until August 28,

 2017. [Doc. No. 88].

           6.     Accordingly, the parties stipulate that they have reached an out-of-court

 settlement and this action shall be dismissed, with prejudice, with each party to bear its

 own costs of this action and its own attorneys’ fees.

           7.     The parties have attached a Proposed Order of Dismissal with Prejudice

 hereto.

           Dated this 28th day of August, 2017.




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 Respectfully submitted,



 /s/ J. Derek Brazier (w/permission)      /s/ Saba H. Alvi
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